                                                                                     FILED
                                                                            2025 Jan-30 AM 07:29
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA

CASSANDRA SIMON, SYDNEY
TESTMAN, MIGUEL LUNA, ISABELLA
CAMPOS, DANA PATTON, RICHARD
FORDING AND THE ALABAMA STATE
CONFERENCE OF THE NAACP                        Case No. 2:25-cv-00067-MHH

Plaintiffs,

v.

KAY IVEY in her official capacity as
Governor of Alabama and President Ex-
Officio of the University of Alabama Board
of Trustees, SCOTT PHELPS in his official
capacity as President Pro Tempore,
University of Alabama Board of Trustees,
MIKE BROCK, KAREN BROOKS,
MYLA E. CALHOUN, RONALD GRAY,
JEFF GRONBERG, O.B. GRAYSON
HALL JR., BARBARA HUMPHREY, W.
DAVIS MALONE III, EVELYN
VANSANT MAULDIN, HARRIS
MORRISSETTE, J. STEVEN ROY,
KENNETH SIMON, MARIETTA
URQUHART and KENNETH
VANDERVOORT in their official
capacities as members of the University of
Alabama Board of Trustees

Defendants.



                  DECLARATION OF SYDNEY TESTMAN

I, Sydney Testman, hereby declare and state as follows:
    1. I am over 18 years of age and identify as a Black woman.

    2. I have personal knowledge of the following facts and, if called to testify, could

       and would competently do so.

    3. I am currently enrolled as a junior at the University of Alabama at

       Birmingham (“UAB”). I am majoring in Political Science and also pursuing

       a Master of Public Administration degree.

    4. I currently serve in leadership roles in various UAB campus organizations. I

       am the Executive Vice President of the Undergraduate Student Government

       Association and the treasurer of the Iota Phi Chapter of Alpha Kappa Alpha

       Sorority.

    5. I have worked with multiple groups on UAB’s campus to advocate for racial

       and social justice. I previously served as the finance coordinator of the Social

       Justice Advocacy Council (SJAC). “The objective of the Social Justice

       Advocacy Council is to celebrate diversity of identity, broaden cultural

       understanding, encourage unity, empower marginalized and underrepresented

       groups, educate about identity related issues, and promote intercultural

       interactions between all communities of people at UAB.”1




1
 Social Justice Advocacy Council, Univ. Ala. at Birmingham Calendar,
https://calendar.uab.edu/group/social_justice_advocacy_council (last visited January 28, 2025).
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6. SJAC hosted their own programming and also helped to fund other student

   groups on UAB’s campus. In the role of SJAC’s finance coordinator, I

   reviewed funding applications from UAB student groups and distributed

   between $7,000 and $8,000 per year among these groups to support social

   justice programming on UAB’s campus.

7. SB 129 was introduced in the Alabama legislature on February 20, 2024.

   Upon reading the text of SB 129, I was worried about its potential negative

   impact on campus programs at UAB and student groups that are committed to

   supporting and uplifting UAB students with marginalized identities.

8. My concerns about SB 129 proved accurate. After SB 129 went into effect, it

   negatively impacted student group funding at UAB. Last year, SJAC provided

   funding for a multitude of student-led events, including the Indian Cultural

   Association’s Diwali event, the Spanish and Latino Association’s Day of the

   Dead event, and a volleyball game hosted by the Korean Student Association.

   SJAC typically has a budget of around $10,000 per year. This year, SJAC did

   not receive any university funding, and is unable to provide financial support

   for campus events because the university demoted SJAC from a University

   Funded Organization (“UFO”) to a Registered Student Organization (“RSO”)

   to comply with SB 129. UAB officials told me that, because of SB 129, SJAC

   could not continue receiving state funding because it may be connected to

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   “divisive concepts” or fall under SB 129’s definition of a “diversity, equity

   and inclusion program.”

9. UFOs have specific budget allocations that RSOs do not. As a UFO, SJAC

   was able to host its own events using state funds and to provide funding to

   RSOs who put on programming involving social justice. Now that SJAC is an

   RSO, it can no longer receive state funding to host its own events and

   conferences.

10.In addition, when SJAC lost its funding due to SB 129, I also lost a $600

   stipend that I had previously received for my work as a finance coordinator.

   With my stipend gone from SJAC, I had to regroup and figure out how I was

   going to come up with that $600 for school and had to pursue additional

   employment to continue to finance my education.

11.Due to SB 129, SJAC is unable to fulfill its mission to support students from

   underrepresented backgrounds and provide a platform for groups that

   otherwise would not have the funding to engage with members of the UAB

   campus community.

12.SJAC’s primary purpose is to further social justice programming to benefit

   UAB students who have been historically excluded from or underserved by

   the university, including for reasons arising from race- or gender-based

   discrimination. While SB 129 caused SJAC to lose its university funding, the


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   law did not affect certain other student groups’ funding because they have no

   risk of falling within the definition of “diversity, equity and inclusion

   programs” or being associated with “divisive concepts.”

13.By limiting the events that affinity groups can host on campus, SB 129 also

   limits my representation in the UAB campus community. UAB has interpreted

   SB 129 to ban university funding for groups that are committed to promoting

   and preserving Black culture on campus, such as the Black Student Awareness

   Committee (“BSAC”). The withholding of state financial support from these

   groups limits their ability to support Black students at UAB and facilitates the

   erasure of Black history and perspectives on UAB’s campus. For example, the

   demotion of BSAC to an RSO meant that Black students lost a scholarship

   facilitated by BSAC, the Camille Armstrong scholarship, which helped fund

   the studies of three Black students on campus each year. I am not a scholarship

   recipient, but it was an important source of funding for many of my Black

   peers on campus.

14.Additionally, because of the vagueness and ambiguity of key terms in SB 129,

   it is not clear to me what student organizations can or cannot say or do without

   violating the law. For example, I understand that the university considered

   SJAC to be a “diversity, equity and inclusion program,” which SB 129 defines

   as “[a]ny program, class, training, seminar, or other event where attendance is


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      based on an individual’s race, sex, gender identity, ethnicity, national origin,

      or sexual orientation, or that otherwise violates this act.” However, it is not

      clear to me how SJAC meets this definition because, although SJAC focuses

      on marginalized communities, its membership is open to everyone.

   15.Moreover, the UAB administration stated that it will not provide any state

      funding for programs or events associated with a “divisive concept.” But I

      cannot determine from the text of SB 129 what would constitute a “divisive

      concept.” For example, if SJAC sponsored an event focused on racism on

      campus and had a speaker who addressed problems of implicit bias or White

      privilege, the program may be considered to be associated with a prohibited

      “divisive concept” even though the words “implicit bias” and “White

      privilege” are not found in SB 129’s text.



      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and accurate.



Executed on January 29, 2025.



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                                  Sydney Testman

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